Case 2:03-cr-20005-.]DB Document 241 Filed 07/28/05 Page 1 of 2 Page|D 327

 

 
 

iN THE UNITED sTATEs DisTR:CT COURIF“-ED BY »-- D'C'
FOR THE WEsTERN DIsTRiCT OF TBNNEssEE

WESTERN DIVIsION OSJULZB PH|Z=UT

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UNITED sTATEs OF AMERICA, GEUJBF“VHHOUFN

CYEWMYHS

Piaintiff,
vS. No. 03~20005-3

JUANITA GALE ANDREWS,

Defendant.

 

ORDER TO RETURN PASSPORT

 

Upon motion_ cf the defendant, for qood, cause shown, and
because the defendant has eompiied with the terms cf her bend and
erders cf the COurt, it is herehy:

ORDERED, ADJUDGED AND DECREED that the Clerk shall return the
passport Juanita Gale Andrews surrendered en January 9, 2003 to
her.

Entered this ZL=’({`k day et Juiy, 2005.

days

D NIEL BREEN
nit d States District Judge

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RICT COURT- WHESTERN DISTRICT OF TENNESSEE

Notice of Distribution

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Honorable J. Breen
US DISTRICT COURT

